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                                   STATEMENT OF FACTS

        Your affiant, Emily T. Eckert, is employed as a Special Agent by Federal Bureau of
Investigation (“FBI”). Specifically, I am assigned to the Washington Field Office, where I am
currently tasked with investigating criminal activity in and around the Capitol grounds. As a
Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building


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without authority to be there. That video was publicly disseminated, and helped identify persons
who were present during the riot on January 6, 2021.

       On January 16, 2021, the FBI posted a photo (“BOLO #105”) to its website seeking the
public’s assistance identifying the individuals who made unlawful entry into the United States
Capitol Building and assaulted federal law enforcement personnel. 1

        On January 17, 2021, CRAIG MICHAEL BINGERT identified himself, through counsel,
as BOLO #105. BINGERT’s attorney contacted FBI Agents in the Philadelphia Field Office and
offered to turn himself in.

        BOLO #105 is a still image from Metropolitan Police Department (“MPD”) Body Worn
Camera (“BWC”) which captures individuals, including BINGERT, pushing a barricade into MPD
officers in an apparent attempt to gain access to the Capitol grounds and building.

        Your affiant reviewed BWC uploaded from several officers’ devices, including an MPD
officer (“MPD Officer 1”) that was standing directly in front of BINGERT. At minute 8:48 of
MPD Officer 1’s BWC footage, an unidentified white male wearing sunglasses and a red hat tells
the crowd, amongst other things, to “push them out of there,” referencing the law enforcement
officers who are on the other side of the police barricade.

        BINGERT is wearing a military camouflage/ military style jacket and a hoodie underneath
the jacket. He is wearing a blue skull cap with the words “America” visible. At minute 8:51, he is
standing up against a police barricade and carrying an American flag:




       At minute 8:54, the unidentified individual in the red hat instructs the crowd, counting “1,
2, 3 go.” BINGERT puts one of his hands, which is covered in a leather glove, onto the metal
barricade and starts pushing it towards the police officers:

1
  This bulletin is publicly available: https://www.fbi.gov/wanted/seeking-info/violence-at-the-
united-states-capitol-13
                                                2
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        Then BINGERT, along with other members of the crowd, use their collective force to
shove the barrier into the police officers. The group then lifts the barrier up in an apparent attempt
to break through the police line by ducking under the barrier.




       Individuals in the crowd are screaming encouraging chants as the barrier is broken. At
minute 9:11, BINGERT is still standing in the frontline as police officers attempt to fend off the
crowd. In response to the crowd’s physical aggression, MPD officers took defensive postures and
used chemical irritants to stop the group from breaking through the line of officers.




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       Your affiant reviewed additional BWC of other MPD officers on scene during the standoff.
Even after the confrontation ends, BINGERT remains in the area:




        At one point, BINGERT turns around and faces the crowd behind him and begins waving
the flag as the crowd yells and chants slogans in anger, including “Fuck the Police.”




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        BINGERT, through counsel, provided his name. Utilizing various investigative methods,
including law enforcement database searches, FBI personnel confirmed that BINGERT has a
registered driver’s license with the Pennsylvania Department of Motor Vehicles (“DMV”). The
residential address listed on the driver’s license is Slatington, Pennsylvania.

        Additionally, BINGERT has a Linkedin account that lists his first and last name and
indicates that he lives in Slatington, Pennsylvania.

       Your affiant reviewed images of BINGERT in MPD Officer 1’s BWC, as well as a picture
associated with BINGERT’s Linkedin profile, and compared those photographs with BINGERT’s
DMV photo included below:




        Your affiant believes that BINGERT’s facial features in his DMV photo match those of
the individual in MPD Officer 1’s BWC, and that they are the same person.


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        Your affiant submits there is probable cause to believe that BINGERT violated 18 U.S.C.
231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct, impede,
or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes. Finally,
your affiant understands that members of the D.C. Metropolitan Police Department had responded
to the U.S. Capitol to assist the U.S. Capitol Police after rioters unlawfully entered the building.


                                                     _________________________________
                                                     EMILY T. ECKERT
                                                     FEDERAL BUREAU OF
                                                     INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this      day of January 2021.


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                                                     U.S. MAGISTRATE JUDGE




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